               Case 2:06-cr-00169-WKW-SRW                       Document 662         Filed 07/29/2008           Page 1 of 1
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